                  Case: 3:20-cr-00149-MJN Doc #: 25 Filed: 09/30/21 Page: 1 of 9 PAGEID #: 180
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                         SouthernDistrict
                                                     __________   Districtof
                                                                           of __________
                                                                              Ohio
                                                                          )
              UNITED STATES OF AMERICA                                    )         JUDGMENT IN A CRIMINAL CASE
                         v.                                               )
                   ANTHONY EVAN AILLS                                     )
                                                                          )         Case Number: 3:20CR149
                                                                          )         USM Number: None Assigned
                                                                          )
                                                                          )          Laura M. Woodruff
                                                                          )         Defendant’s Attorney
THE DEFENDANT:
✔ pleaded guilty to count(s)
G                                    1
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
18U.S.C.§ 2252(a)(4)(B)           Possession of Child Pornography                                           1/9/2020                       1




       The defendant is sentenced as provided in pages 2 through                9          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                              G is      G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                           9/29/2021
                                                                         Date of Imposition of Judgment


                                                                                                      s/Michael J. Newman
                                                                         Signature of Judge




                                                                                       Hon. Michael J. Newman, U.S. District Judge
                                                                         Name and Title of Judge


                                                                                                           9/30/2021
                                                                         Date
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                  Judgment — Page       2       of   9
 DEFENDANT: ANTHONY EVAN AILLS
 CASE NUMBER: 3:20CR149

                                                         IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 72 months.



      X The court makes the following recommendations to the Bureau of Prisons:
      G
          Baseduponthenatureoftheinstantoffense,itisrecommendedthedefendantparticipateinsexoffendertreatment
          whileincarcerated.Inconsiderationofhishistoryofpolysubstanceusage,itisrecommendeddefendantparticipateina
          substanceabusetreatmentprogram.Baseduponhispriormentalhealthdiagnoses,participationinmentalhealth
          treatmentshouldcontinue.,WLVUHFRPPHQGHGKHEHLQFDUFHUDWHGDWDIDFLOLW\ZLWKDQ,QWHQVLYH6H[2IIHQGHU7UHDWPHQW
          SURJUDPFRQVLVWHQWZLWKKLVVHFXULW\VWDWXVDQGDVFORVHWRWKH'D\WRQ2KLRDUHDDVSRVVLEOH

      G The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
        G at                                 G a.m. G p.m. on                                                               .

          G as notified by the United States Marshal.
      ✔ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      G
          G before 2 p.m. on                                            .
          ✔ as notified by the United States Marshal.
          G
          G as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at                                              , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                        By
                                                                                             DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     3     of       9
DEFENDANT: ANTHONY EVAN AILLS
CASE NUMBER: 3:20CR149
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 15 years.




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    G  You   must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.    G✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    G✔ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    G You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                               Judgment—Page         4       of          9
DEFENDANT: ANTHONY EVAN AILLS
CASE NUMBER: 3:20CR149

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D — Supervised Release
                                                                                            Judgment—Page    5    of       9
DEFENDANT: ANTHONY EVAN AILLS
CASE NUMBER: 3:20CR149

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. If not completed while in the custody of the BOP, the defendant shall participate in a program of treatment, either
 inpatient or outpatient, and testing for substance abuse, as directed by the U.S. Probation Office. The defendant shall
 make a co-payment for treatment services not to exceed $25 per month, which is determined by the defendant’s
 ability to pay.

 2. The defendant shall participate in a mental health treatment program at the direction of the probation officer. The
 defendant shall make a co-payment for treatment services not to exceed $25 per month, which is determined by the
 defendant’s ability to pay.

 3. The defendant shall participate in a vocational services program as directed by the probation officer. Such program may
 include on the job training, job readiness training, and skills development training.

 4. The defendant shall perform 40 hours of community service with an agency approved in advance by the probation
 officer within the first year of supervision.

 5. The defendant shall participate in a sexual offender treatment program, to include a sex offender risk assessment,
 psycho-sexual evaluation and/or other evaluations needed. The defendant shall follow the rules and regulations of the sex
 offender treatment program as approved by the probation office. The defendant shall sign all necessary authorization
 forms to release confidential information so that treatment providers, the probation officer, polygraph examiner, and others
 (as necessary) are allowed to communicate openly about the defendant’s course of treatment, and progress in treatment.
 The defendant shall make a co-payment for sex offender treatment services not to exceed $25 per month, which is
 determined by the probation officer’s assessment of the defendant’s ability to pay.

 6. The defendant shall be subject to periodic polygraph examinations at the discretion and direction of the probation officer
 as a means to ensure that the defendant is in compliance with the requirements of the defendant’s supervision or
 treatment. The polygraph testing will be at the defendant’s expense, based on the probation officer’s assessment of the
 defendant’s ability to pay.

 7. The defendant’s residence and employment shall be pre-approved by the probation officer, and must be in compliance
 with state and local law.

 8. The defendant shall not view or possess material, images, videos or computer files containing any sexually explicit
 conduct as defined by 18 U.S.C. § 2256(2)(A) and (B).

 9. The defendant shall have no contact with any minors without approval of the Court or approval of the Probation
 Department. The term contact extends to all forms of communication such as email, telephone, text, letter, and any other
 form of electronic communication. This provision does not encompass persons under age 18 such as ticket vendors,
 cashiers, or waiters with whom the defendant must deal in order to obtain normal commercial services. The defendant
 shall be prohibited from loitering where minors congregate, such as, but not be limited to, playgrounds, arcades,
 amusement parks, recreation parks, sports events involving minors, shopping malls, and public swimming pools.

 10. The defendant shall submit to the installation of software, and to monitor computer activities on any computer the
 defendant is authorized to use at the defendant’s expense. The software will record any and all activities on the
 defendant’s computer. The software will be checked on a periodic basis. The defendant has no expectations of privacy
 regarding computer use or information stored on the computer and he shall make other users of said computer aware of
 the monitoring software. The defendant understands that any information gathered by said software may be used against
 the defendant in subsequent court actions regarding the defendant’s computer use and the conditions of supervision.
 Furthermore, the defendant shall comply with the rules set forth in the Computer and Internet Monitoring Agreement and
 the Computer and Internet Acceptable Use Agreement that have been adopted by the Southern District of Ohio.

 11. In consideration of 18 U.S.C. § 3583(d)(3), the defendant shall submit and/or surrender any and all media devices, to
 which the defendant has access and/or control, to a search based on reasonable suspicion of contraband or evidence of a
 violation of a condition of supervision. A media device is defined as, but not limited to, any device which is capable of
 accessing the internet, storing images, storing text, or other forms of electronic communication.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                    Judgment — Page       6    of         9
 DEFENDANT: ANTHONY EVAN AILLS
 CASE NUMBER: 3:20CR149
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment            5HVWLWXWLRQ        )LQH                 $9$$$VVHVVPHQW             -97$$VVHVVPHQW
 TOTALS           $ 100.00                  $ 0.00                 $ 0.00                 $      0.00                 $      0.00



 G The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                 Total Loss***              Restitution Ordered         Priority or Percentage




 TOTALS                               $                         0.00            $                   0.00


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       G the interest requirement is waived for the            G fine    G restitution.
       G the interest requirement for the           G fine      G restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5A — Criminal Monetary Penalties
                                                                                         Judgment—Page   7     of        9
DEFENDANT: ANTHONY EVAN AILLS
CASE NUMBER: 3:20CR149

                       ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
 While incarcerated, if the defendant is working in a non-UNICOR or grade 5 UNICOR job, defendant shall pay $25.00 per
 quarter toward defendant’s restitution obligation. If working in a grade 1-4 UNICOR job, defendant shall pay 50% of
 defendant’s monthly pay toward defendant’s restitution obligation. Any change in this schedule shall be made only by order
 of this Court.

 The Court finds the defendant is indigent and does not have the ability to pay the $5,000 special assessment under 18
 U.S.C. § 3014. Therefore, the $5,000 special assessment is not imposed.

 The Court Further finds the defendant does not have the ability to pay up to $17,000 special assessment under 18 U.S.C.
 § 2259A. Therefore, the $17,000 special assessment is not imposed.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page      8      of      9
 DEFENDANT: ANTHONY EVAN AILLS
 CASE NUMBER: 3:20CR149

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ✔ Lump sum payment of $ 100.00
      G                                                         due immediately, balance due

            G     not later than                                    , or
            G     in accordance with     G C,       G D,       G E, or         G F below; or
 B    G Payment to begin immediately (may be combined with                   G C,        G D, or       G F below); or
 C    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    G Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 G Joint and Several
      Case Number
      Defendant and Co-Defendant Names                                                     Joint and Several                Corresponding Payee,
      (including defendant number)                         Total Amount                         Amount                          if appropriate




 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 G The defendant shall forfeit the defendant’s interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6B — Schedule of Payments
                                                                                  Judgment—Page   9   of   9
DEFENDANT: ANTHONY EVAN AILLS
CASE NUMBER: 3:20CR149

                                            ADDITIONAL FORFEITED PROPERTY
   Defendant shall forfeit an iPhone 8 Plus, Model A1897, IMEI 356770080889429.
